                    EXHIBIT 9




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HUNTON&                                                            HUNTON & WILLIAMS LLP
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                                                                   KURT G. LARKIN
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                                                                   EMAIL: klarkin@hunton.com

May 23,2016                                                        FILE NO: 27120.019023


Via UPS Overnight Mail & E-Mail


Angela Gray, Esq ..
Gray Newell Thomas, LLP
7 Corporate Center Court, Suite B
Greensboro, NC 27408

Re:      Lisa Cooper v. The Smithfield Packing Company, Inc.
         Case No.: 7:13-cv-145-F

Dear Angela:

       I write to express my dismay at the fact that numerous deficiencies still exist with
respect to Lisa Cooper's responses to Defendant's First Set of Interrogatories to Plaintiff
("Smithfield's Interrogatories") and Defendant's First Request for Production of Documents
to Plaintiff ("Smithfield's RFP"). As you no doubt recall, we originally took issue with a
number of omi~sions in Mrs. Cooper's initial responses as well as several dubious objections
to making those responses raised by you, her counsel. You then provided us supplemental
responses which we believed to be true, accurate and, most importantly, complete.

         Mrs. Cooper's recent deposition testimony made clear, however, that her responses to
many of these same interrogatories and document requests remain woefully incomplete in
ways that have denied my client the benefit of full discovery. Moreover, it is troublingly
apparent that Mrs. Cooper's incomplete responses were not all the result of simple
inaccuracies, but in some cases were the result of her deliberate withholding of relevant
information. Her actions have frustrated the discovery process and require immediate action
on your part to correct and/or supplement the record in this case. Consider this letter a good
faith attempt to resolve a potential discovery dispute with respect to the following matters:

A.      Smithfield's Interrogatories

      We again take issue with Mrs. Cooper's responses to Smithfield's Interrogatories and
demand that she provide us with full and complete responses to the following interrogatories:



      ATLANTA AUSTIN BANGKOK BEIJING BRUSSELS CHARLOTTE DALLAS HOUSTON LONDON LOS ANGELES
        McLEAN MIAMI NEW YORK NORFOLK RALEIGH RICHMOND SAN FRANCISCO TOKYO WASHINGTON
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          5.      Describe in complete detail your employment history since reaching age
          eighteen (18) to date, including any employment held both prior to, and since, your
          period of employment with defendant. In answering this interrogatory, furnish the
          names of each prior employer, your immediate supervisor(s) and job title(s) for each
          such employer, the dates you held such employment, and the reason you changed
          positions and/or employers.

       ANSWER: The Plaintiff cannot recall with specificity her employment since the age of
       eighteen (18); however, she knows that she worked for House of Raeford, Rocko, and
       Smithfield (1995-2011). The Plaintiff is currently employed at Kayser-Roth in
       Lumberton, NC where she has worked as a Line Inspector since November 15, 2011.
       She earns $645.00 every two (2) weeks, working approximately four (4) days per
       week/eight (8) hours per day. Her immediate supervisor is Lynn Sealey.

       SUPPLEMENTAL ANSWER: The Plaintiff contends as follows:

       a.      June 1984- June 1985; she was employed as a Recreation Supervisor at
       Lumber Bridge located at 1106 N Cedar Street, Lumberton, NC; (910)-671-3869
       (telephone). Her employment ended because the plant closed

       b.     June 1985; she was employed as a Guidance Assistant at Red Springs High
       School located at 529 N Vance Street, Red Springs, NC 28377; (910)-843-2587 and
       (910)-843-4211 (telephone).

       c.      July 2, 1986-January 10, 1987; she was employed as a Cook at the Corner
       Grill located at 110 4'h Avenue, Red Springs, NC 28377; (910)-843-2626 (telephone).

      d      August 1987-July 14, 1993; she was employed as a worker in the Sanitation
      Department at The House of Raeford located at 520 Central Avenue, Raeford, NC
      28376; (910)- 875-5161. Her employment ended because the plant closed.

      e.      March 9, 1994-August 19, 1995; she was employed as a Crew Leader in the
      Sanitation Department at Rocco Turkey located at Hwy. 20 East, St. Paul, NC. Her
      employment ended because the plant closed.

      j         November 20, 1995- July 2011; she worked at the Defendant Company.




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       Smithfield Reply: Mrs. Cooper's response remains incomplete. During her
       deposition, Mrs. Cooper identified two additional employers, Howard Johnson
       Hotels and Croft Metals, with whom she was employed prior to her employment
       with Smithfield, but could not recall specific dates or locations of her
       employment with them. (Tr. 74-75). Additionally, based on her deposition
       testimony, it appears that Mrs. Cooper's disclosures with respect to her dates of
       employment at House of Raeford and Rocco Turkey, and her reasons for leaving
       House of Raeford, are inaccurate, incomplete, or both. (Tr. 74-78). As you know,
       information concerning Mrs. Cooper's prior employment history is relevant, and
       the omitted information is necessary in order for the Company to fully
       investigate that history. See e.g., Quinn v. Conagra Foods Packaged Foods LLC,
       2010 U.S. Dist. LEXIS 136645 (S.D. Ohio Sept. 10, 2010) (holding that records
       from four of the plaintifrs former employers were discoverable over the
       plaintifrs objection); Stewart v. Orion Fed. Credit Union, 285 F.R.D. 395 (W.D.
       Tenn. Aug. 2, 2012) (concluding that the plaintiffs' performance reviews,
       evaluations, and reasons for terminations from former employers were
       discoverable). Smithfield requests a full and complete response.

       12.     Please identify any other healthcare provider, including physicians,
       psychiatrists, psychologists, therapists, counselors, social workers, hospitals, clinics,
       and laboratories, from whom you have sought or obtained treatment, advice,
       consultation, evaluation, testing, or other services at any time for any type of a mental
       or emotional illness or problem. For each such healthcare provider identified, state the
       name and address for the provider, the dates of treatment or examination, the reason
       for treatment or examination, identify and describe all documents that evidence,
       describe, or referred to such information, and state whether you contend any such
       treatment was related to the events which form the basis for the instant action.

      ANSWER: The Plaintiff objects to this interrogatory on the grounds that it is
      irrelevant,. overly broad and not likely to lead to the discovery of admissible evidence.
      Notwithstanding this objection and without waiver thereof, the Plaintiff contends that
      her response to Interrogatory No. 11 is responsive to this request.

      SUPPLEMENTAL ANSWER: The Plaintiff contends that she has not been treated for
      mental health issues other than as it relates to the harassment she was subjected to by
      Mr. Lowery. In addition to her response to Interrogatory No. 11, the Plaintiff




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       responds that she was treated by Dr. Womack at Community Innovation, and was
       prescribed the following medication:

       a) Hydrochlorothiazide 25 mg Tab, one tablet everyday
       b) Hydroxyzine Hcl25mg, 1 tablet at bedtime
       c) Fluoxetine He! 20mg, 1 tablet everyday
       d) Hydroxyzine He! 25mg, %tablet at bedtime
       e) Trazodone 100 mg, 1 tablet at bedtime
      f) Alprazolam .5mg, 1 tablet 3x per day
      g) Potassium Cl ER 1 Omg, 1 tablet everyday
      h) Meloxicam 7.5mg, 1 tablet everyday

      Smithfield Reply: Despite expressly asserting in her Supplemental Answer that
      she "has not been treated for mental health issues other than as it relates to the
      harassment she was subjected to by Mr. Lowery," Mrs. Cooper admitted at
      deposition that she has been receiving "ongoing" mental health treatment "once a
      week" from a number of mental health providers, including "Lumberton Mental
      Health," as a result of a prior instance of alleged sexual harassment during her
      employment with House of Raeford. (Tr. 162-170). According to Mrs. Cooper,
      the reason she did not disclose these treatment providers in response to the above
      Interrogatory is "because it didn't have nothing to do with what was going on
      here." (Tr. 167-168). As you know, Mrs. Cooper has placed her mental health
      squarely at issue in this case and has acknowledged both in her Fourth Amended
      Complaint and in response to Smithfield's interrogatories that she is seeking
      damages for emotional pain and mental anguish. Information relating to other,
      or prior, treatment Mrs. Cooper has received for any mental or emotional illness
      or problem, and the identity of the provider of such treatment, particularly as it
      relates to a prior claim of sexual harassment against her previous employer, is
      plainly relevant to the cause of her alleged injury, as well as the credibility of her
      claim.

      Ms. Cooper also admitted during deposition that the above Supplemental Answer
      is inaccurate to the extent it misleadingly identifies someone named "Dr.
      Womack at Community Innovation." Ms. Cooper testified that "Dr. Womack"
      does not work at Community Innovation, but instead is employed at a separate
      practice. (Tr. 266-67). With regard to the obvious next question - who then did
      she treat with at Community Innovation - Mrs. Cooper stated that she saw both




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        a doctor and a therapist, but that she is not sure of their names. (Tr. 274). She
        further identified someone named "Dr. Kelly" who prescribed her blood pressure
        medication. "Dr. Kelly" also is not identified in her Supplemental Answer. (Tr.
        267).

        Mrs. Cooper further failed to accurately testify regarding the prescription
        medications listed above, but in doing so revealed she has additional information
        in her possession with which she could have supplemented the above response.
        While testifying that she did not know what many of these medicines are for,
        Mrs. Cooper asserted that "I have a pill bottle - each pill bottle got the doctor's
        name and the therapist's name on there who prescribed it to me." (Tr. 270).
        Mrs. Cooper did not bring her pill bottles - or the information about who
        prescribed them - to her deposition.

        Thus, it is apparent based on Mrs. Cooper's deposition testimony that her
        Supplemental Answer is deficient in it least the following respects: (i) it fails to
        identify Lumberton Mental Health and the details of Mrs. Cooper's treatment
        with that provider; (ii) it fails to fully and accurately identify Dr. Womack and
        the details of Mrs. Cooper's treatment with that provider; (iii) it fails to identify
        Dr. Kelly and the details of Mrs. Cooper's treatment with that provider; (iv) it
        fails to identify the names of the providers at Community Innovation with whom
        Mrs. Cooper treated; (v) it fails to identify the names of the providers who
        prescribed each of the medications identified in the Supplemental Answer.
        Smithfield requests a full and complete response to correct each of these
        deficiencies. Further, Smithfield requests that Mrs. Cooper identify each and
        every medical provider from whom she has sought treatment for mental or
        psychological distress, to the extent not specifically identified in her deposition
        testimony.

 B.     Smithfield's RFP's

        We again take issue with Mrs. Cooper's responses to Smithfield's RFP, and demand
 that Ms. Cooper provide us with full and complete responses to the following requests:

       22.     All documents, not already requested, relating in any way to any treatment,
       diagnosis, advice, testing, or other services you have received since reaching the age
       of eighteen (18) years old for any type of mental or emotional illness or problem. This




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       request includes, but is not limited to, any medical records, evaluations of your
       medical, physical, or mental condition, bills, records of payment for medical care or
       medicine, prescription slips, correspondence or notes to or from healthcare providers,
       or records of discussion with healthcare providers.

       RESPONSE: The Plaintiff objects to this interrogatory on. the grounds that it is
       irrelevant, overly broad and not likely to lead to the discovery of admissible evidence.
       Notwithstanding this objection and without waiver t hereof, the Plaintiff contends that
       Exhibit F is responsive to this request.

       Smithfield Reply: The above response is plainly incomplete. Exhibit F contained
       a handful of medical records Plaintiff obtained from Community Innovations as
       a result of her treatment there in 2011 and 2012. Mrs. Cooper apparently has
       pill bottles in her possession that contain highly relevant information - the names
       of the healthcare providers who prescribed them. She must either supplement
       the above Interrogatories or produce Xerox copies of her pill bottles.

       Mrs. Cooper also admitted to having - and not producing in discovery
       appointment cards that would have identified the specific dates on which she
       received relevant medical treatment: "I have all of my appointment cards. After
       sessions, they give you your next appointment." (Tr. 284). When asked why she
       failed to provide us with these records in her discovery response, she sarcastically
       responded, "Did you ask for appointment cards?" (Tr. 284). The appointment
       cards are unquestionably responsive to the above request (not to mention several
       others) and are also relevant, and Mrs. Cooper's failure to produce them plainly
       is not in good faith.

       Finally, to the extent Mrs. Cooper has any medical records of any kind in her
       possession relating to any of the medical providers identified in her Interrogatory
       responses and at deposition, and as she may supplement them in response to this
       letter, she must produce those documents to us.

       17.   Your state and federal income tax returns from 2010 through present, and all
       documents used in preparing those re~s.

      RESPONSE: The Plaintiff objects to this interrogatory on the grounds that it is
      irrelevant, overly broad and not likely to lead to the discovery of admissible evidence.




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        SUPPLEMENTAL RESPONSE: See attached federal tax returns for 2010 through the
        present.

        Smithfield Reply: At deposition, Mrs. Cooper admitted that the tax returns
        provided in her supplemental response were either inaccurate, incomplete, or
        were not the actual returns filed with the federal government. (Tr. 241-252). For
        instance, she admitted to having filed an amended 2012 return that she failed to
        produce in discovery: "I don't have it with me, but I do have a corrected one."
        (Tr. 247). When told she was obligated to produce all of her tax returns during
        the relevant period, she claimed she had asked the IRS office in Fayetteville to
        provide her with a copy of her amended return but had not received it yet. But
        that information was never disclosed to us in any of her discovery responses.
        Mrs. Cooper also admitted to having filed a 2015 tax return that has not yet been
        produced.

        Mrs. Cooper's tax returns are clearly discoverable both as a result of their
        relevance to her mitigation efforts and since she is seeking damages for alleged
        pecuniary losses. See e.g., Johnson v. Next Day Blinds Corp., 2011 U.S. Dist.
        LEXIS 113610 (D. Md. Oct. 3, 2011) (finding tax returns discoverable as a result
        of plaintiff's "allegations of lost income and future pecuniary losses"); Barnette v.
        City of Charlotte, 2012 U.S. Dist. LEXIS 124795 (W.D.N.C. 4 Sept. 2012)
        (directing plaintiff to produce tax returns even where W-2's and 1099's had been
        provided). Not only does Mrs. Cooper have an obligation to produce the
        requested tax return records within her possession and control, courts have
        determined that, where tax returns are discoverable because of allegations of lost
        income and future pecuniary losses, parties are required to avail themselves of
        procedures to obtain tax records no~ within their direct possession. See e.g.,
        Johnson v. Next Day Blinds Corp., infra. Smithfield requests that Mrs. Cooper
        produce all of the information requested in request for production 17.

        30.    An executed authorization for release of medical records for each healthcare
        provider identified in response to Interrogatories ten (10) and eleven (11) 1 of the

        1
          Defendant's RFP 30 inadvertently requested a medical release for each healthcare
 provider identified in Plaintiffs responses to Interrogatories ten (10) and eleven (11). The
 document request in RFP 30 was meant to refer to Interrogatories eleven (11) and twelve (12),



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         Defendant's First Set of Interrogatories to Plaintiff, authorizing the disclosure and
         production of relevant medical records to the law firm of Hunton & Williams LLP, for
         its use in connection with this action, and for no other purpose. An unexecuted copy of
         the request authorization for release of medical records has been attached hereto for
         your convenience and execution.

         RESPONSE: The Plaintiff will request medical records responsive to this request and
         produce them to the Defendant forthwith.

         SUPPLEMENTAL RESPONSE: See attached subpoena for medical records.

         Smithfield's Reply: Smithfield requests that, in addition to providing a complete
         response to Interrogatory 12, above, Mrs. Cooper execute and return
         authorizations for release of medical records for each healthcare provider from
         whom Plaintiff sought or obtained treatment, advice, consultation, evaluation,
         testing, or other services at any time for any type of a mental or emotional illness
         or problem. A generic authorization for release has been attached for execution
         by Mrs. Cooper.

 C.      Independent Mental Examination and Expert Discovery Deadline

          We would like Mrs. Cooper to submit to an independent mental examination. Please
 advise whether Mrs. Cooper is willing to voluntarily consent to the examination, or whether
 you intend to oppose such an examination in which case we will seek an order from the Court
 under Fed.R.Civ.P. 35. Please provide dates in late June or early July, 2016, on which
 Plaintiff is available for an independent mental examination. Unfortunately, Mrs. Cooper's
 deficient discovery responses may delay the date of any examination, which cannot be
 scheduled until she provides a complete response to Smithfield's discovery requests, which in
 turn will allow Smithfield to subpoena all of her relevant medical records. For these reasons I
 intend to request that the Court extend Defendant's June 17, 2016 deadline for identifying
 experts to Monday, July 11, 2016. Please let me know whether Plaintiff will oppose this
 request.



 which are the interrogatories that ask Plaintiff to identify her relevant healthcare providers. I
 assume you recognized this error, but to eliminate any confusion please be guided accordingly
 in any supplemental responses to RFP 30.



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 D.      Continuation of Plaintiff's Deposition

         Given Mrs. Cooper's failure to disclose the information discussed above, we may also
 need to continue her deposition once we have received the full and complete records to which
 we are entitled. Please provide dates in late June or early July, 2016, on which Plaintiff is
 available for the completion of her deposition. We are willing to coordinate time on either the
 same day, or on a successive day, for the deposition you have requested, but we intend to
 complete Plaintiffs deposition before producing any of our own witnesses for deposition.

         In closing, I again express my disappointment over the haphazard manner in which
 your client has chosen to approach the discovery process. I cannot stress this enough - Mrs.
 Cooper is not entitled to make her own, unilateral decisions about what is, and what is not,
 relevant in this litigation. If you believe any of the information we have requested in
 discovery is objectionable, it is up to you to raise those objections with us and, if necessary,
 the Court. It is not Mrs. Cooper's prerogative to self-censor the discovery record in this case
 without notifying anyone that she is doing so.

         As you know, the discovery deadline is July 18, 2016, and we intend to pursue each of
 these issues in a timely manner prior to that date. Your prompt attention and response is
 expected and appreciated. If, however, he have not received your responses by the close of
 business on Friday, May 27,2016, we will seek appropriate intervention by the Court.

                                              Sincerely,




 KGL/bcu
 Enclosure




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              AUTHORIZATION FOR RELEASE OF MEDICAL RECORDS


This authorization is designed to satisfy the Federal Standards for Privacy of Individually
Identifiable Health Information under the Health Insurance Portability and Accountability Act of
1996 ("HIPAA") and the restrictions on disclosure of alcohol or drug abuse records Wlder 42 ·
C.P.R. Part 2 (the "Federal Alcohol and Drug Abuse Confidentiality Rules").
I, Lisa Cooper, do hereby authorize the following Medical Provider(s) (the "Medical
Provider(s)") to disclose the information described below to the law firm of Hunton & Williams
LLP, collectively (the "Recipient"), for Recipient's use, including re-disclosure to others, in
connection with a lawsuit pending in THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NORTH CAROLINA, entitled LISA COOPER V. THE
SMITHFIELD PACKING COMPANY, INC., CASE NO.: 7:13-CV-145-F, in which I am the
Plaintiff (the "Lawsuit"), and for no other purpose.
MEDICAL PROVIDER(S):

       All healthcare providers of every type who have ever treated me, specifically
       including but not limited t o , - - - - - - - - - - - - - - - - - - -




The ·information to be disclosed includes information that relates to my past, present or future
physical or mental health or condition, the provision ofhealthcare to me, and/or my past, present
or future payment for the provision of medical care. This information includes:
       Any and all medical and/or health records, including but not limited to physical
       evaluations and/or records, files, notes, reports, memoranda, correspondence, laboratory
       reports, radiology reports, hospital discharge summaries, notes of telephone conferences,
       evaluations, diagnoses, prescriptions, diagrams, or indicia thereof, billing and payment
       records, tape recordings, videotape recordings, or recordings in any medium made,
       concerning my identity, diagnosis, examination, evaluation, history and treatment for any
       and all physical injuries and illnesses.

       AND

       Any records for mental or psychiatric treatment and treatment for alcohol or drug abuse,
       including medication prescription and monitoring, counseling session start and stop
       times, the modalities and frequencies of treatment furnished, results of clinical tests, and
       any summary of diagnosis(es), functional status, the treatment plan, symptoms,
       prognosis, progress to date, and other documents regarding my treatment. This includes
       notes recorded in any medium by a mental health professional that document or analyze
       the contents of conversation during a counseling session and that are separated from the
       rest of my medical record




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I acknowledge and understand that I may revoke this authorization at any time by providing
written notice to the law firm of Hunton & Williams, to the attention of KURT LARKIN, ESQ.,
HUNTON & WILLIAMS, LLP, 951 EAST BYRD STREET, RICHMOND, VIRGINIA 23219;
provided, however, that this authorization ritay not be revoked to the extent it has been relied
upon by any Medical Provider in disclosing any information prior to such revocation. This
authorization shall continue to be valid and in effect until the final adjudication of the Lawsuit
(including any appeals) unless it is revoked in writing in accordance with the procedures
described in this paragraph.
I also acknowledge that the information provided pursuant to this authorization (other than
alcohol or drug abuse treatment _records) may under HIPAA be redisclosed by the Recipient
without any additional authorization by me, and that, upon such redisclosure, such information
will no longer be protected under HIPAA, but the Recipient may be prohibited (1) from making
such redisclosure by applicable state law and/or (2) from ·disclosing alcohol or drug abuse
treatment records under the Federal Alcohol and Drug Abuse Confidentiality Rules.

I further acknowledge that any Medical Provider listed above may not condition treatment upon
whether I sign this authorization.

A copy of this authorization shall have the same force and effect as the original. A copy of this
authorization will be given to me after it is signed.



SIGNATURE OF LISA COOPER                                                     Date



Name of Plaintiff


Social Security Number of Plaintiff


Date ofBirth (mm/dd/yr) of Plaintiff




If signed by a personal representative of the individual, describe the representa~ive's authority to
act for the individual: _ _ _ _ _ _ _ _ _ ____;;____;__ _ _ _ _ _ _ _ _ _ _ __




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